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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION
EMERSON HERMETIC MOTOR

                           ,              )
              Plaintiff (s),              )
                                          )
                                                           4:19-cv-1003
      v.                                  )     Case No.
                                          )
       SHOU LIU                           )
                        ,                 )
              Defendant(s).               )

                                    NOTICE OF INTENT TO USE
                                       PROCESS SERVER
                     Plaintiff
Comes now                       and notifies the court of the intent to use
         (Plaintiff or Defendant)
              Maria D. DeLaCerda

      (name and address of process server)
           Courthouse Connection LLC


935 Eldridge Rd. #283,Sugarland, TX 77478



To serve:                      Defendant Shou Liu

                                                          in the
      (name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the

requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.
     04/26/2019                                     /s/ Kevin T. McLaughlin

      (date)                                    (attorney for Plaintiff)


                                                (attorney for Defendant)
